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 5
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 6

 7                          UNITED STATES DISTRICT COURT FOR THE
                               CENTRAL DISTRICT OF CALIFORNIA
 8
      MAISHA HENSON, individually, and on          Case No. 2:20-cv-11402
 9    behalf of others similarly situated,
10                                                 CLASS ACTION              COMPLAINT           FOR
                         Plaintiff,
                                                   DAMAGES
11            v.
                                                   1. VIOLATIONS OF THE FAIR DEBT
12    NATIONWIDE CREDIT, INC.,                     COLLECTION PRACTICES ACT, 15 U.S.C. §
                                                   1692 ET SEQ.
13                       Defendant.
14                                                 2. VIOLATIONS OF THE ROSENTHAL
                                                   FAIR DEBT COLLECTION PRACTICES
15                                                 ACT, CAL. CIV. CODE § 1788 ET SEQ.

16                                                 JURY TRIAL DEMANDED
17

18
                                      CLASS ACTION COMPLAINT
19
            NOW COMES Plaintiff, MAISHA N. HENSON, individually, and on behalf of all others
20
     similarly situated, through her undersigned counsel, complaining of Defendant, NATIONWIDE
21

22   CREDIT, INC., as follows:

23                                     NATURE OF THE ACTION
24          1.      Plaintiff brings this action seeking redress for Defendant’s violations of the Fair
25
     Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and the Rosenthal Fair Debt
26
     Collection Practices Act (“RFDCPA”), Cal. Civ. Code § 1788 et seq.
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 1                                    JURISDICTION AND VENUE
 2          2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
 3
            3.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2).
 4
                                         PARTIES
 5          4.      MAISHA N. HENSON (“Plaintiff”) is a natural person, over 18-years-of-age, who
 6
     at all times relevant resided in Torrance, California.
 7
            5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 8
            6.      NATIONWIDE CREDIT, INC., (“Defendant”) is a corporation organized and
 9

10   existing under the laws of the state of Georgia.

11          7.      Defendant maintains its principal place of business in Atlanta, Georgia.

12          8.      Defendant is a debt collection agency that collects debts owed to third parties.
13          9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) because the
14
     principal purpose of Defendant’s business is the collection of debt owed to others.
15
                                        FACTUAL ALLEGATIONS
16

17          10.     Plaintiff applied for and was issued a JPMorgan Chase Bank, N.A. credit card.

18          11.     Plaintiff made charges to the credit card for personal purposes.

19          12.     Due to financial hardship, Plaintiff defaulted on her payments on the credit card
20
     (“subject debt”).
21
            13.     The subject debt is a “debt” as defined by 15 U.S.C. § 1692a(6).
22
            14.     At some point in time, the subject debt was placed with Defendant for collection.
23
            15.     On April 2, 2020, Defendant mailed Plaintiff a letter in an effort to collect the subject
24

25   debt (“Defendant’s Letter”).

26          16.     Defendant’s Letter depicted, in pertinent part, as follows:
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            17.     Defendant’s Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
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            18.     Defendant’s Letter did not conspicuously identify the current creditor as required
18
     by §1692g(a)(2) of the FDCPA.
19
            19.     Specifically, Defendant’s Letter identified “JPMorgan Chase Bank, N.A.” as the
20

21   “Original Creditor” but did not identify the current creditor.

22          20.     Accordingly, Defendant’s Letter confused Plaintiff as she was unable to determine
23   whether “JPMorgan Chase Bank, N.A.” was the “original creditor” and the current creditor or
24
     whether the debt was sold by Chase to an unknown third party.
25
            21.     In other words, just because JPMorgan Chase Bank, N.A. may have been the
26
     original creditor does not necessarily mean that it is also the current creditor.
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 1           22.    Although Defendant’s Letter identified the debt it sought to collect, it did not
 2   identify to whom the debt is currently owed to.
 3
             23.    Specifically, Defendant’s Letter did not identify the entity that “referred” the subject
 4
     debt to Defendant.
 5
             24.    Further obfuscating the identity of the current creditor, Defendant’s Letter requested
 6

 7   that payment be made directly to Defendant, thus raising the possibility that Defendant is the current

 8   creditor.

 9           25.    Defendant’s Letter further stated that Plaintiff could write to Defendant to find out
10
     if the original creditor was different from the current creditor.
11
             26.    This language raised the possibility that the subject debt could have been sold by
12
     JPMorgan Chase Bank, N.A., but did not clarify who actually owned the subject debt.
13
             27.    Accordingly, Defendant’s Letter rendered it impossible for Plaintiff to determine
14

15   whether JPMorgan Chase Bank, N.A., Defendant, or an unknown third party was the current

16   creditor to whom the subject debt is owed to.
17                                                DAMAGES
18
             28.    Due to Defendant’s failure to identify the current creditor, Plaintiff did not make a
19
     payment on the subject debt as the omission of the identity of the current creditor rendered it
20
     impossible for Plaintiff to determine whom she is ultimately paying.
21

22           29.    This uncertainty resulted in an appreciable risk of harm to Plaintiff because her

23   decision not to pay, which was driven by the confusion pertaining to the owner of the subject debt,

24   raised the risk of imminent adverse credit reporting of the subject debt by the owner of the subject
25   debt, who is presently unknown.
26
             30.    There is no question that having information regarding the entity that Plaintiff was
27
     indebted to is of substantive value and material to Plaintiff’s financial affairs. See Hahn v. Triumph
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                                                         4
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 1   P’ships LLC, 557 F.3d 755, 757 (7th Cir. 2009) (“The [FDCPA] is designed to provide information
 2   that helps consumers to choose intelligently ...”).
 3
            31.     Without this critical information, Plaintiff ran the risk of making payment to an
 4
     unknown entity and having her payment swallowed into a black hole.
 5
            32.     The value of receiving unambiguous and complete information about one’s financial
 6

 7   affairs—and the ill effects of receiving ambiguous or misleading information—may be hard to

 8   quantify, but it is nevertheless a concrete harm. See Haddad v. Midland Funding, LLC, 255 F. Supp.

 9   3d 735, 739 (N.D. Ill. 2017).
10
            33.     Based on the foregoing, Plaintiff was deprived of her right to receive critical
11
     information required by the FDCPA and was harmed as a result thereof.
12
                                          CLASS ALLEGATIONS
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            34.     All paragraphs of this Complaint are expressly adopted and incorporated herein as
14

15   though fully set forth herein.

16          35.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23, individually, and on behalf
17   of all others similarly situated (“Putative Class”).
18
            36.     The Putative Class is defined as follows:
19
            All natural persons residing in the United States (a) that received a correspondence
20          from Defendant; (b) attempting to collect a consumer debt; (c) in which JPMorgan
            Chase Bank, N.A. was the original creditor; (d) that failed to conspicuously identify
21          the creditor to whom the debt is currently owed to; (e) within the one (1) year
22          preceding the date of this complaint through the date of class certification.

23          37.     The following individuals are excluded from the Putative Class: (1) any Judge or

24   Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s
25   subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents
26
     have a controlling interest and their current or former employees, officers and directors; (3)
27
     Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion from
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                                                            5
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 1   the Putative Class; (5) the legal representatives, successors or assigns of any such excluded persons;
 2   and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or
 3
     released.
 4
              A.     Numerosity:
 5
              38.    Upon information and belief, Defendant mailed thousands of similar letters to
 6

 7   consumers nationwide.

 8            39.    The exact number of the members of the Putative Class are unknown and is not

 9   available to Plaintiff at this time, but it is clear that individual joinder is impracticable.
10
              40.    Members of the Putative Class can be objectively identified from records of
11
     Defendant to be gained in discovery.
12
                         B. Commonality and Predominance:
13
              41.    There are many questions of law and fact common to the claims of Plaintiff and the
14

15   claims of members of the Putative Class, and those questions predominate over any questions that

16   may affect individual members of the Putative Class.
17            C.     Typicality:
18
              42.    Plaintiff’s claims are representative of the claims of the members of the Putative
19
     Class.
20
              43.    Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and
21

22   members of the Putative Class received the same letter and are thus entitled to the same damages.

23            D.     Superiority and Manageability:

24            44.    This case is also appropriate for class certification as class proceedings are superior
25   to all other available methods for the efficient and fair adjudication of this controversy.
26
              45.    The damages suffered by the individual members of the Putative Class will likely
27
     be relatively small, especially given the burden and expense required for individual prosecution.
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                                                          6
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 1            46.    By contrast, a class action provides the benefits of single adjudication, economies
 2   of scale, and comprehensive supervision by a single court.
 3
              47.    Economies of effort, expense, and time will be fostered and uniformity of decisions
 4
     ensured.
 5
              E.     Adequate Representation:
 6

 7            48.    Plaintiff will adequately and fairly represent and protect the interests of the Putative

 8   Class.

 9            49.    Plaintiff has no interests antagonistic to those of the Putative Class, and Defendant
10
     has no defenses unique to Plaintiff.
11
              50.    Plaintiff has retained competent and experienced counsel with substantial
12
     experience in consumer law.
13

14
                                            CLAIMS FOR RELIEF
15
                                                COUNT I:
16                     Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)
                      (On behalf of Plaintiff and the Members of the Putative Class)
17
              51.    All Paragraphs of this Complaint are expressly adopted and incorporated herein as
18

19   though fully set forth herein.

20                                     Violations of 15 U.S.C. § 1692g
21            52.    Section 1692g(a) provides:
22
              (a) Within five days after the initial communication with a consumer in connection
23            with the collection of any debt, a debt collector shall, unless the following
              information is contained in the initial communication or the consumer has paid the
24            debt, send the consumer a written notice containing –
25                   (1)    the amount of the debt;
26
                     (2)    the name of the creditor to whom the debt is owed;
27

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                                                         7
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 1                  (3)     a statement that unless the consumer, within thirty days after receipt
                            of the notice, disputes the validity of the debt, or any portion thereof,
 2                          the debt will be assumed to be valid by the debt collector;
 3
                    (4)     a statement that if the consumer notifies the debt collector in writing
 4                          within the thirty-day period that the debt or any portion thereof, is
                            disputed, the debt collector will obtain verification of the debt or a
 5                          copy of a judgment against the consumer and a copy of such
                            verification or judgment against the consumer and a copy of such
 6                          verification or judgment will be mailed to the consumer by the debt
 7                          collector; and

 8                  (5)     a statement that, upon the consumer’s written request within the
                            thirty-day period, the debt collector will provide the consumer with
 9                          the name and address of the original creditor, if different from the
                            current creditor.
10

11   (emphasis added).

12            53.   Section 1692g of the FDCPA requires debt collectors to make certain critical

13   disclosures to consumers, including the identity of the current creditor.
14
              54.   Defendant violated 15 U.S.C. §1692g by failing to adequately provide Plaintiff with
15
     the disclosures required by the FDCPA.
16
              55.   Specifically, Defendant violated §1692g(a)(2) by failing to identify the entity to
17
     whom the subject debt is currently owed to.
18

19            56.   As set forth above, Defendant’s Letter rendered it impossible for Plaintiff to

20   decipher whom the debt is currently owed to. Steffek v. Client Services, Inc., 948 F.3d 761, 763 (7th
21   Cir. 2020) (“Regardless of who then owned the debts, the question under the statute is whether the
22
     letters identified the then-current creditor clearly enough that an unsophisticated consumer could
23
     identify it without guesswork”).
24
              57.   As set forth above, Defendant’s Letter was highly confusing and impacted
25

26   Plaintiff’s decision to pay the subject debt, which resulted in concrete harm to Plaintiff as set forth

27   above.

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 1          58.     Assuming that JPMorgan Chase Bank, N.A. is in fact the creditor to whom the debt
 2   is owed, Defendant’s Letter is still deficient because “[t]he mere presence of the correct name in
 3
     the notice somewhere does not suffice.” Steffek, 948 F.3d at 765.
 4
            WHEREFORE, Plaintiff, on behalf of herself and the members of the putative class
 5
     members, requests the following relief:
 6

 7          A.      an order certifying the proposed class and the appointment of Plaintiff as the class

 8                  representative;

 9          B.      a finding that Defendant violated 15 U.S.C. §1692g(a)(2);
10
            C.      an injunction prohibiting Defendant from sending similar unlawful collection letters
11
                    to consumers;
12
            D.      an award of statutory damages in the amount of $1,000 to Plaintiff;
13
            E.      an award of statutory damages in the amount of $1,000 to each putative class
14

15                  member;

16          F.      an award to Plaintiff for her reasonable attorney’s fees and costs; and
17          G.      any further relief this Honorable Court deems just and proper.
18
                                             COUNT II:
19            Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code § 1788 et seq.)
                         (On behalf of Plaintiff and Members of the Putative Class)
20
            59.     All paragraphs of this Complaint are expressly adopted and incorporated herein as
21

22   though fully set forth herein.

23                                    Violations of Cal. Civ. Code § 1788.17

24      60. California Civil Code § 1788.17 provides:
25
                    Notwithstanding any other provision of this title, every debt collector
26                  collecting or attempting to collect a consumer debt shall comply with the
                    provisions of Section 1692b to 1692j, inclusive, of, and shall be subject to
27                  the remedies in Section 1692k of, Title 15 of the United States Code.
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                                                         9
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  1          61.      As pled above, Defendant violated 15 U.S.C. §1692g(a)(2), therefore violating Cal.
  2   Civ. Code §1788.17.
  3

  4          WHEREFORE, Plaintiff, on behalf of herself and the members of the putative class,
  5   requests the following relief:
  6
             A.      an order certifying the proposed class and appointing Plaintiff as the class
  7
                     representative;
  8
             B.      a finding that Defendant violated Cal. Civ. Code § 1788.17;
  9

 10          C.      an injunction prohibiting Defendant from sending similar unlawful collection letters

 11                  to consumers;

 12          D.      an award of statutory damages in the amount of $1,000 to Plaintiff;
 13          E.      an award of statutory damages in the amount of $1,000 to each putative class
 14
                     member;
 15
             F.      an award to Plaintiff for her reasonable attorney’s fees and costs; and
 16
             G.      any further relief this Honorable court deems just and proper.
 17

 18                                    DEMAND FOR JURY TRIAL

 19          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

 20   Date: December 17, 2020                           Respectfully submitted,
 21
                                                        MAISHA N. HENSON
 22
                                                        By: /s/ Nicholas M. Wajda
 23
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